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                                                                          FILED
                      UNITED STATES DISTRICT COURT                   April 30, 2020
                     EASTERN DISTRICT OF CALIFORNIA                CLERK, US DSITRICT COURT
                                                                     EASTERN DISTRICT OF
                                                                          CALIFORNIA


UNITED STATES OF AMERICA,                   Case No. 2:16-cr-92-JAM

               Plaintiff,

      v.                                           ORDER FOR RELEASE OF
                                                    PERSON IN CUSTODY
JUAN CARLOS MONTALBO,

               Defendant.

TO:   UNITED STATES MARSHAL:

      This is to authorize and direct you to release JUAN CARLOS MONTALBO ,

Case No. 2:16-cr-92-JAM Charge 18 USC § 1349 , from custody for the following

reasons:

                     Release on Personal Recognizance

                X    Bail Posted in the Sum of $

                                                                  100,000.00 co-

                        X   Unsecured Appearance Bond $       signed by Jessica

                                                              Garcia



                            Appearance Bond with Surety



                            (Other):    Terms and conditions as stated on the

                            record; release on 5/1/2020 by 9AM from the
                        X
                            Sacramento County Jail; meet PTS on the steps of the

                            federal courthouse, 501 I Street, Sacramento

      Issued at Sacramento, California on April 30, 2020 at _2:46 p.m._____.

                                  By:    /s/ Carolyn K. Delaney
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                               Magistrate Judge Carolyn K. Delaney




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